Case 4:19-cv-03260-YGR Document 83-4 Filed 05/27/22 Page 1 of 5




              EXHIBIT D




                                                           EXHIBIT D
Announcement: Sergeant, (Police Department) - City and County of San Francisco Page 1 of 4
         Case 4:19-cv-03260-YGR Document 83-4 Filed 05/27/22 Page 2 of 5


                          SFGOV       |   Residents       |   Business     |   Government        |   Visitors   |   OnlineServices        Help
                                                                                                                           Powered by

                         Sergeant, (Police Department)
                                Recruitment #CBT-Q050-901237

                   Department       Public Safety

                        Analyst     Erin Zadlo

                  Date Opened       10/14/2016 8:00:00 AM

                Filing Deadline     10/27/2016 4:00:00 PM

                      Job Type      CBT Discrete


 INTRODUCTION

Under direction, as a sworn member of the San Francisco Police Department, the Q-50 Sergeant's
duties may include but are not limited to: supervises field incidents, crime scenes or special events;
monitors, directs, evaluates, coaches and trains subordinate personnel; reviews documents and
prepares routine paperwork; interacts with SFPD members, other city departments and law
enforcement agencies; performs routine law enforcement and operations duties; conducts
surveillance and search operations; obtains and serves arrest and search warrants; collects,
processes and secures physical evidence; interacts with victims, witnesses, and suspects during
investigations; conducts follow-up investigation, case management, and prosecution.

 MINIMUM QUALIFICATIONS

1. Sworn members of the San Francisco Police Department who have completed probation as a Q-2
Police Officer and possess a minimum of two years of experience with the SFPD at the rank of Q-2
Police Officer or higher as of October 27, 2016. Length of service is calculated from completion of
probation
AND
2. Possession of a POST Intermediate Certificate (or more advanced POST certificate) issued by
California Department of Justice, Commission of Peace Officer Standards and Training; and
The requirements for a P.O.S.T. Intermediate Certificate (as specified in SFPD Department Bulletin
#16-008) are:
   1. Baccalaureate degree, plus two years law enforcement or;
   2. Associate degree, plus four years law enforcement or;
   3. 45 college units, plus four years law enforcement and 45 training points or;
   4. 30 college units, plus six years law enforcement and 30 training points or;
   5. 15 college units, plus eight years law enforcement and 15 training points

AND
3. Possession of a valid Class C California Driver license.
Applicants must meet minimum qualifications (1) and (3) above by October 27, 2016 to be
considered a “qualified candidate”. Evidence of possession of the POST Intermediate Certificate
must be submitted no later than 4:00 p.m. on December 31, 2016 to dhr-publicsafety@sfgov.org.
Candidates who have taken the written portion of the exam but do not provide a certificate
by December 31, 2016 will not be able to continue in the selection process.

 SELECTION PLAN

HOW TO APPLY
Applications for this recruitment will be accepted through an online process from 8:00 AM,
October 14, 2016 through 4:00 PM, October 27, 2016.
Visit www.jobaps.com/sf to register an account (if you have not already done so) and begin the




https://www.jobaps.com/SF/sup/BulPreview.asp?R1=CBT&R2=Q050&R3=901237                                                                   11/7/2016
Announcement: Sergeant, (Police Department) - City and County of San Francisco Page 2 of 4
         Case 4:19-cv-03260-YGR Document 83-4 Filed 05/27/22 Page 3 of 5


application process.
    • Select the “Police Sergeant” job announcement
    • Select “Apply” and read and acknowledge the information
    • Select either “I am a New User” if you have not previously registered, or “I have Registered
      Previously”
    • Follow instructions on the screen

If you previously registered and have a JobAps account with the City and County of San Francisco,
but do not remember your UserID and/or password please email dhr-publicsafety@sfgov.org for
your login information.
For applicants who do not have internet access, computers are available for the public (from 8:00
a.m. to 5:00 p.m. Monday through Friday) to file online applications in the lobby of the Dept. of
Human Resources at 1 South Van Ness Avenue, 4th Floor, San Francisco. However, because the
DHR offices close at 5:00 PM, it is recommended that you arrive by at least 4:30 PM to allow time
to complete the application.
Applicants who file for this announcement will later be contacted by email. Therefore, it is their
responsibility to ensure that their registered email address is accurate and kept up-to-date. Also,
applicants must ensure that email from CCSF is not blocked on their computer by a spam filter. To
prevent blocking, applicants should set up their email to accept CCSF mail from @sfgov.org.
In the experience section of the application, you need to include only your experience as a Q-2
Police Officer in the San Francisco Police Department.
Applicants will receive a confirmation email that their online application has been received in
response to every announcement to which they apply. Applicants should retain this confirmation
email for their records. Failure to receive this email means that the online application was not
submitted or received.
SELECTION PROCEDURES
The selection process will consist of components such as the following: job knowledge test, role-
play exercise, and/or tactical exercise. A pass point will be established after administration of the
job knowledge test, and only candidates scoring at or above that minimum passing score will be
invited to participate in subsequent components of the examination. Final scores will be based on a
composite of the scores from the role-play and the tactical exercise. The written test component is
tentatively scheduled to be administered on December 7, 2016. The role-play and tactical exercises
are tentatively scheduled to be administered in February 2017. Qualified applicants will be notified
of the exact date, time, and location for the examination components.
Q-50 Sergeant Examination Preparation Guides A description of the examination process
will be included in Preparation Guides. Preparation Guides will also list the job-related duty areas
and the knowledge, skills, and abilities to be evaluated in each test component. Preparation Guides
for each component will be made available approximately 30 days prior to the administration of the
component. Qualified applicants will be notified via email when Preparation Guides become
available.
Certification Rule: The certification rule for the eligible list resulting from this test will be Rule
of Ten (10) Scores.
Eligible List: The duration of the eligible list produced from this examination will be thirty-six
months and may be extended up to twelve months upon approval of the Human Resources
Director.
NOTES
1. All examination procedures are subject to the Civil Service Commission Rules, Volume II,
Uniformed Ranks of the San Francisco Police Department available at
http://www.sfgov3.org/index.aspx?page=300 and the policies and procedures of the Department
of Human Resources.
2. Applicants must be guided solely by the provisions of this announcement, including
requirements, time periods and other particulars, except when superseded by federal, state or local
laws, rules or regulations. Clerical errors may be corrected by posting the correction on the




https://www.jobaps.com/SF/sup/BulPreview.asp?R1=CBT&R2=Q050&R3=901237                                    11/7/2016
Announcement: Sergeant, (Police Department) - City and County of San Francisco Page 3 of 4
         Case 4:19-cv-03260-YGR Document 83-4 Filed 05/27/22 Page 4 of 5


Department of Human Resources website at www.jobaps.com/sf. The terms of this examination
announcement may be appealed under Civil Service Rule 211.6, provided that such appeal is
submitted in writing in the Department of Human Resources, 1 S Van Ness Avenue, 4th Floor, San
Francisco, CA 94103-5413 by close of business on the 5th business day following the issuance date
of this examination announcement. Go to http://sfgov.org/civilservice/ for more information on
applicable appeal rights and submission requirements under the Civil Service Rules; and for Civil
Service Rules, policies and procedures on announcements, applications and examinations.
3. The City and County of San Francisco reserves the right to revise the examination plan if
necessary.
4. When making appointments, the Appointing Officer will consider the following secondary
criteria: assignments, training, education, community involvement, special qualifications,
commendations/ awards, bilingual certification, and discipline history.
5. An applicant/eligible that changes his or her contact information (email, name, mailing address,
phone, etc.) after having filed an application must promptly go to CCSF’s employment website:
www.jobaps.com/sf. Click on the “Update My Contact Info” button. Log in to your JobAps account
by entering both UserID and password. Enter your new address/contact information. Click on the
“Update Contact Information” button again. Failure to maintain current contact information my
result in loss of eligibility.
6. Qualified candidates with disabilities who require a reasonable accommodation for this
examination process must contact Erin Zadlo by phone at (415) 551-8947, email
(Erin.Zadlo@sfgov.org), or if hearing impaired (415) 557-4810 (TDD) as soon as possible, but no
later than November 4, 2016.
7. Requests for an alternate test date may be considered in limited circumstances and must be
submitted in writing to Erin.Zadlo@sfgov.org within five (5) calendar days of the announcement.
8. Important Employment Information for the City and County of San Francisco can be obtained at
http://www.sfdhr.org/index.aspx?page=20 or at 1 South Van Ness Avenue, 4th Floor.
9. Applicants are advised to keep copies of all items submitted to the Department of Human
Resources Public Safety Team.
Micki Callahan, Director of Human Resources
Announcement No: CBT-Q050-901237
Issued: October 14, 2016
Public Safety Team, Erin Zadlo, 415.551.8947
PROMOTIVE

 CONVICTION HISTORY

As part of the selection process an image of your fingerprints will be captured and sent to the
California Department of Justice (DOJ) and the Federal Bureau of Investigation (FBI). The
resulting report of your conviction history (if any) will be used to determine whether the nature of
your conviction (or arrest, in limited circumstances) history will disqualify you as a candidate based
on the specific requirements of the position to which you are applying. If selected for
fingerprinting, the hiring department will contact you to schedule an appointment.


Candidates applying for positions with the Unified School District and the Community College
District may be disqualified from consideration should their conviction history not meet the
standards established under the California Education Code.


Candidates applying for positions with the Recreation and Park Department may be disqualified
from consideration should their conviction history not meet the standards established under
California Public Resources Code 5164.

 BENEFITS




https://www.jobaps.com/SF/sup/BulPreview.asp?R1=CBT&R2=Q050&R3=901237                                    11/7/2016
  Announcement: Sergeant, (Police Department) - City and County of San Francisco Page 4 of 4
           Case 4:19-cv-03260-YGR Document 83-4 Filed 05/27/22 Page 5 of 5


   All employees hired on or after January 10, 2009 will be required (pursuant to San Francisco
   Charter Section A8.432) to contribute 2% of pre-tax compensation to fund retiree healthcare. In
   addition, most employees are required to make a member contribution towards retirement, ranging
   from 7.5%-13.25% of compensation. For more information on these provisions, please contact the
   personnel office of the hiring agency.
   For more information about benefits, please click here.




Follow us on:   
                                                             Accessibility     Policies
                                                                                     City and County of San Francisco ©2000-2013




  https://www.jobaps.com/SF/sup/BulPreview.asp?R1=CBT&R2=Q050&R3=901237                                                            11/7/2016
